Case 16-62019-mgd   Doc 46   Filed 02/07/18 Entered 02/07/18 16:53:12      Desc Main
                             Document     Page 1 of 4




   IT IS ORDERED as set forth below:



   Date: February 7, 2018                      _________________________________

                                                         Mary Grace Diehl
                                                   U.S. Bankruptcy Court Judge

  ______________________________________________________________
Case 16-62019-mgd   Doc 46   Filed 02/07/18 Entered 02/07/18 16:53:12   Desc Main
                             Document     Page 2 of 4
Case 16-62019-mgd   Doc 46   Filed 02/07/18 Entered 02/07/18 16:53:12   Desc Main
                             Document     Page 3 of 4
Case 16-62019-mgd   Doc 46   Filed 02/07/18 Entered 02/07/18 16:53:12   Desc Main
                             Document     Page 4 of 4
